                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

 NATIONAL UNION FIRE INSURANCE
 COMPANY OF PITTSBURGH, PA., as                       No.:
 assignee and subrogee of ARS Intermediate
 Holdings, LLC and American Residential Services,
 L.L.C.,

                        Plaintiff,
 v.

 MARK JONES,

                        Defendant.

                            PLAINTIFF’S CIVIL ACTION COMPLAINT

       Plaintiff, National Union Fire Insurance Company of Pittsburgh, Pa., as assignee and

subrogee of ARS Intermediate Holdings, LLC and American Residential Services, L.L.C., by and

through its attorneys, files a Complaint against Defendant, Mark Jones, and in support thereof

avers the following:

                                          PARTIES

       1.      Plaintiff, National Union Fire Insurance Company of Pittsburgh, Pa. (“National

Union”), is a Pennsylvania insurance company formed and existing in accordance with the laws

of the Commonwealth of Pennsylvania, with a principal place of business located at 175 Water

Street, New York, New York 10038.

       2.      Defendant, Mark Jones (“Jones”), is a citizen of Tennessee with a principal

domicile located at 1506 Sudbury Court, Old Hickory, Tennessee 37138.

                                 JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over the claims in this Complaint

pursuant to 28 U.S.C. § 1332.



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        4.      Venue is proper under 28 U.S.C. § 1391(b)(1) and 28 U.S.C. § 1391(b)(2) because

the Defendant resides in this district and a substantial part of the events giving rise to the claim

occurred in this district.

                                  FACTUAL ALLEGATIONS

        5.      Until March, 2018, Jones was employed as a Warehouse Manager for American

Residential Services, L.L.C. (“ARS”) in Nashville, Tennessee.

        6.      ARS, a subsidiary of ARS Intermediate Holdings, LLC (“ARS Holdings”), is an

HVAC and plumbing contractor.

        7.      From 2015 through March, 2018, Jones, in his role as Warehouse Manager for

ARS, engaged in a scheme in which he misappropriated $157,442.06 worth of equipment from

ARS through the creation and submission of fraudulent purchase orders.

                                           The Scheme

        8.      In his role as Warehouse Manager for ARS, Jones’ job responsibilities included

ordering supplies and equipment from vendors for use on HVAC and plumbing jobs to be

performed by ARS.

        9.      Between 2015 and March, 2018, Jones, in his capacity as ARS’ Warehouse

Manager, created fraudulent purchase orders for HVAC and plumbing equipment and submitted

the fraudulent purchase orders to certain vendors of ARS.

        10.     Upon receipt of the purchase orders submitted by Jones, the vendors processed the

purchase orders by providing the requested equipment to Jones and submitting invoices totaling

$157,442.06 to ARS for payment of same.

        11.     Jones represented to ARS that the fraudulent purchase orders he submitted were for

equipment to be use on ARS jobs.



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        12.     ARS, in reliance upon the representations of Jones, issued payment to the

equipment vendors for the equipment specified in the fraudulent purchase orders.

        13.     Rather than provide the equipment obtained pursuant to the fraudulent purchase

orders to ARS for use on ARS jobs, Jones instead retained the equipment for his personal benefit

or sold the equipment to others for his financial benefit.

        14.     In total, ARS paid $157,442.06 pursuant to the fraudulent purchase orders for

equipment that it did not receive.

        15.     Jones was able to conceal his theft from ARS by submitting the fraudulent purchase

orders on the accounts of select ARS jobs that Jones knew were already completed and profitable

and for which Jones knew the invoices submitted by equipment vendors would be paid by ARS

without heavy scrutiny.

        16.     On March 22, 2018, ARS discovered the theft and subsequently terminated Jones’

employment with ARS.

        17.     Upon being confronted by ARS representatives regarding the theft, Jones confessed

to his participation in the theft.

        18.     To date, Jones has not returned any of the misappropriated equipment to ARS or

reimbursed ARS for its loss sustained due to the misappropriated equipment.

                                               The Claim

        19.     National Union issued a policy of insurance (No. 01-317-61-98) (the “Policy”) to

ARS Holdings, in which National Union agreed to insure ARS Holdings and its subsidiaries,

including ARS, for losses sustained due to employee dishonesty.

        20.     Pursuant to the Policy, National Union indemnified ARS Holdings and ARS for the

losses sustained as a result of the actions of Jones.



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          21.   As a result of indemnifying ARS Holdings and ARS, National Union has become

subrogated to ARS Holdings and ARS.

          22.   Additionally, ARS Holdings and ARS assigned to National Union all of the rights,

claims and causes of action that ARS Holdings and ARS have against Jones. A true and correct

copy of the Assignment and Release agreement is attached hereto as Exhibit “A”.

                                            COUNT I
                                             FRAUD
                                      National Union v. Jones

          23.   National Union repeats and realleges the above allegations as if set forth herein.

          24.   By submitting fraudulent purchase orders for equipment on the accounts of select

ARS jobs, Jones represented to ARS that the equipment being ordered would be used by ARS for

business purposes.

          25.   The representations made by Jones were material and false because the equipment

was not used by ARS, but rather was retained by Jones for his personal benefit or sold to others

by Jones for his financial benefit.

          26.   Jones made the above-referenced misrepresentations intentionally and with

knowledge of their falsity.

          27.   Jones made the above-referenced misrepresentations with the intent to deceive ARS

and to induce ARS to render payment for the equipment specified in the fraudulent purchase

orders.

          28.   ARS did justifiably rely upon the misrepresentations of Jones when it rendered

payment for the equipment specified in the fraudulent purchase orders.

          29.   The actions of Jones were wanton, willful and committed with actual malice.




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       30.      As a proximate result of the fraudulent conduct of Jones, ARS, and thus National

Union, suffered a loss in the principal amount of $157,442.06 and is entitled to an award of punitive

damages in addition to compensatory damages.

       WHEREFORE, Plaintiff, National Union, demands judgment in its favor and against

Defendant, Mark Jones, for compensatory damages in the amount of $157,442.06, together with

punitive damages, interest, costs and all further relief that the Court determines to be appropriate.

                                           COUNT II
                                         CONVERSION
                                     National Union v. Jones

       31.      National Union repeats and realleges the above allegations as if set forth herein.

       32.      ARS was the rightful owner of $157,442.06 in HVAC and plumbing equipment.

       33.      Without ARS’ consent and without lawful justification, Jones deprived ARS of its

rightful possession and ownership of the $157,442.06 in HVAC and plumbing equipment and

exercised unauthorized dominion and control of same through his fraudulent purchase order

scheme as alleged herein.

       34.      Jones has refused to return the $157,442.06 in HVAC and plumbing equipment that

he converted.

       35.      The actions of Jones were wanton, willful and committed with actual malice.

       36.      As a result of the actions of Jones, ARS, and thus National Union, suffered a loss

in the principal amount of $157,442.06 and is entitled to an award of punitive damages in addition

to compensatory damages.

       WHEREFORE, Plaintiff, National Union, demands judgment in its favor and against

Defendant, Mark Jones, for compensatory damages in the amount of $157,442.06, together with

punitive damages, interest, costs and all further relief that the Court determines to be appropriate.



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                                       COUNT III
                               BREACH OF FIDUCIARY DUTY
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       37.     National Union repeats and realleges the above allegations as if set forth herein.

       38.     As ARS’ Warehouse Manager with the responsibilities of supervising ARS’

warehouse and ordering supplies and equipment on behalf of ARS, Jones owed a fiduciary duty to

ARS to act in ARS’ best interests and to refrain from stealing from ARS.

       39.     Jones breached his fiduciary duty owed to ARS by submitting fraudulent purchase

orders for equipment and retaining or selling the equipment for his personal benefit instead of

providing the equipment to ARS.

       40.     Jones’ actions were wanton, willful and committed with actual malice.

       41.     As a result of Jones’ breach of fiduciary duty, ARS, and thus National Union,

suffered a loss in the principal amount of $157,442.06 and is entitled to an award of punitive

damages in addition to compensatory damages.

       WHEREFORE, Plaintiff, National Union, demands judgment in its favor and against

Defendant, Mark Jones, for compensatory damages in the amount of $157,442.06, together with

punitive damages, interest, costs and all further relief that the Court determines to be appropriate.

                                          COUNT IV
                                    UNJUST ENRICHMENT
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       42.     National Union repeats and realleges the above allegations as if set forth herein.

       43.     Jones obtained a benefit from ARS in the total amount of $157,442.06 through his

misappropriation of equipment from ARS.

       44.     Jones accepted and retained the benefit by not returning the misappropriated

equipment, or funds derived therefrom, to ARS or National Union.



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       45.      Jones did not provide compensation to ARS in exchange for the benefit that he

received from ARS.

       46.      It is inequitable and unjust for Jones to continue to retain the benefit that he received

from ARS without disgorging such benefit or compensating ARS, and thus National Union, for

such benefit.

       47.      As a result of the Jones’ unjust enrichment, ARS, and thus National Union, suffered

a loss in the principal amount of $157,442.06.

       WHEREFORE, Plaintiff, National Union, demands judgment in its favor and against

Defendant, Mark Jones, for compensatory damages in the amount of $157,442.06, together with

interest, costs and all further relief that the Court determines to be appropriate.


                                                        Respectfully submitted,

                                                        /s/ Jeffrey S. Price
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